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                                     EXHIBIT B

                             Investment Services Agreement




{1368.002-W0072168.}
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                                                                                  August 23, 2023

FTX Trading Ltd.
Friar’s Hill Road, Mandolin Place
Saint John’s, AG-04, Antigua and Barbuda
c/o John Ray III

       Re:      Services Agreement

Dear Mr. Ray:

This services agreement (together with all exhibits, schedules, appendices and annexes hereto, this
“Agreement”), dated as of the date hereof and effective as of the date the United States Bankruptcy
Court for the District of Delaware (the “Bankruptcy Court”) approves FTX Trading Ltd.’s (the
“Client”) entry into this Agreement (the “Approval Order” and the date on which the Approval
Order is entered by the Bankruptcy Court, the “Effective Date”), confirms the terms under which
the Client in Chapter 11 cases jointly administered under Case No. 22-11068 (JTD) (the “Chapter
11 Cases”) in Bankruptcy Court has engaged Galaxy Digital Capital Management LP (the
“Investment Manager” or “Galaxy” and, together with the Client, the “Parties”) to provide
investment manager services with respect to certain Assets deemed to constitute an account (the
“Account”) of the Client; provided that any beneficiary of, or parties subsequently joined to, this
Agreement, as contemplated by Section 16(i), shall be entitled to the rights afforded to the Client.
“Services” as used in this Agreement shall refer to any and all services to be performed by the
Investment Manager hereunder.

1.     Appointment of Investment Manager. As of the Effective Date and on the terms and
       subject to the conditions set forth herein, the Client hereby appoints the Investment
       Manager as investment manager of the Account for the purposes described herein;
       provided that the Investment Manager shall not be obligated to provide any of the Services
       contemplated hereunder, and the Client shall not be bound by any provision hereunder,
       until the Bankruptcy Court has (i) entered the Approval Order and (ii) entered the
       Monetization Order (as defined below), each in accordance with Section 11 hereof.

2.     Designation of Digital Assets. Digital assets shall be designated as follows.

       (a)      Excluded Assets. The “Excluded Assets” are the digital assets designated as such
                in writing by Client to Investment Manager from time to time.

       (b)      Hedging Assets. The “Hedging Assets” are Bitcoin (BTC) and Ether (ETH).

       (c)      Liquidation Assets. The “Liquidation Assets” are all digital assets that are not
                Excluded Assets or Hedging Assets.

       (d)      Assets. The term “Assets” shall refer to the Hedging Assets and Liquidation Assets
                and shall not include the Excluded Assets.
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     (e)     Re-designation. The Parties may agree in writing to re-designate any particular
             digital asset as an Excluded Asset, a Hedging Asset or a Liquidation Asset. The
             Client shall be solely responsible for ensuring that, at all times, the designation of
             Hedging Assets and Liquidation Assets is in compliance with any applicable
             requirements under any order entered by the Bankruptcy Court.

3.   Investment Program.

     (a)     Mandate. The Investment Manager shall have the mandate to liquidate the
             Liquidation Assets into fiat currency or stablecoins and hedge exposure to the
             Hedging Assets, in each case in a manner agreed to by the Client and the Investment
             Manager in Section 2 and Section 3 of the certain August 23, 2023 draft of Token
             Monetization Term Sheet, which may be amended or supplemented from time to
             time by written agreement of the Parties (the “Investment Program”). In the event
             any term of the aforementioned Token Monetization Term Sheet conflicts with any
             express term of this Agreement, the terms and provisions of this Agreement shall
             control to the extent of such conflict. For the avoidance of doubt, the Investment
             Program shall terminate upon the termination of this Agreement pursuant to its
             terms.

     (b)     No Appointment for Excluded Assets. The Investment Manager shall have no
             responsibility or authority pursuant to this Agreement with respect to the Excluded
             Assets, other than the limited responsibility contemplated in Section 4(c)(ii), which,
             for the avoidance of doubt, does not constitute discretionary authority or result in
             Investment Manager owing fiduciary duties to Client in relation to the Excluded
             Assets.

     (c)     Discretion and Fiduciary Duties. Investment Manager shall have discretionary
             authority under such appointment, subject to the Approval Order (as defined herein)
             and the Monetization Order and the supervision of the Board of Directors of the
             Client and its affiliate debtors and debtors-in-possession (the “Board”) and their
             legal and financial representatives (the “Representatives”) through the meetings
             and reporting contemplated under Section 4(f) of this Agreement, to manage the
             Investment Program of the Assets, with such discretion to be exercised at all times
             and in all circumstances in accordance with the Investment Manager’s duties to the
             Client and any order entered by the Bankruptcy Court approving Client’s entry into
             this Agreement, and the Investment Manager’s acceptance of such appointment. In
             the course of providing the services contemplated by this Agreement, the
             Investment Manager shall discharge its fiduciary duties owed to the Client,
             including the duties: (1) to act in good faith and in the best interest of the Client (it
             being understood that Investment Manager has similar duties to other advisory
             clients, which duties may conflict with the duties owed to Client); (2) of loyalty to
             the Client; (3) to provide full and fair disclosure to the Client of all material facts;
             (4) to employ reasonable care to avoid misleading the Client, avoid or disclose
             material conflicts of interest; and to act in a manner agreed to between Investment
             Manager and the Client, and to exercise each of its powers under this Agreement
             consistent with the care, skill and diligence applied by the Investment Manager in

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             its capacity as a registered investment advisor to third party investment funds and
             other clients.

     (d)     Sub-Advisors. Unless otherwise contemplated by this Agreement, Investment
             Manager may not delegate or assign any of its investment advisory functions or
             responsibilities under this Agreement to any third party without the prior written
             consent of the Client; provided that any engagement of a service provider to
             perform any functions or responsibilities referenced in this Section 3(d) shall be on
             arms-length terms.

     (e)     Power of Attorney.

             (i)    Investment Manager shall be authorized to provide Services on behalf of
                    any Client Beneficiary (defined below) only after such Client Beneficiary
                    has (A) become a party to this Agreement, as required under Section 16(i)
                    and (B) appointed Investment Manager with full power of substitution, as
                    the Client Beneficiary’s true and lawful attorney-in-fact to carry out its
                    responsibilities under this Agreement, including, but not limited to, the
                    authority to take the actions set forth in clauses (A)-(D) in Section 3(e)(ii),
                    as required under Section 10(b)(ix).

             (ii)   The Client hereby appoints the Investment Manager, with full power of
                    substitution, as the Client’s true and lawful attorney-in-fact to carry out its
                    responsibilities under this Agreement, the authority to (A) execute hedges
                    with respect to the Hedging Assets held in the Account, (B) buy, sell,
                    exchange, convert, swap, stake, redeem and otherwise trade in any digital
                    assets which constitute or will constitute all or any portion of the Account,
                    provided that Investment Manager will be authorized to buy assets only in
                    connection with hedging activities to be performed by Investment Manager
                    under this Agreement (C) give instructions to the Custodian with respect to
                    such transactions; and (D) enter into agreements or transactions to effect the
                    foregoing.

4.   Management Services to be Performed; Duties and Restrictions on Investment
     Manager.

     (a)     Management of Assets. In executing its responsibilities under the Investment
             Program, the Investment Manager shall also have the authority and responsibility,
             under the supervision of the Board or its Representatives, to:

             (i)    cause the Account to buy, sell, swap, redeem, manage, stake, hold,
                    exchange, convert and otherwise trade in any and all financial instruments
                    (including, without limitation, digital assets, swaps, futures contracts,
                    commodities and forward contracts and derivatives) (the “Transactions”)
                    as the Investment Manager may select, including engaging to the extent
                    necessary and prudent (in the judgment of the Investment Manager) with



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                respect to such financial instruments, utilizing such financial instruments in
                accordance with the express objectives of the Board;

        (ii)    provide advice to the Board and its Representatives with respect to the
                Account, including recommendations concerning, and identification of,
                Assets;

        (iii)   monitor the Assets held in the Account;

        (iv)    determine from time-to-time which Liquidation Assets should be retained
                or sold, what contracts should be entered into by the Account, and perform
                any research or diligence related thereto as appropriate;

        (v)     subject to the limitations set forth in this Agreement, exercise all rights,
                powers, privileges and other incidents of ownership or possession with
                respect to the Assets held in the Account;

        (vi)    supervise the preparation and review of all documents required to complete
                any investment by the Account;

        (vii)   act on behalf of the Account in all matters necessary or incidental to the
                management of the Assets held in the Account; and

        (viii) provide strategic and financial planning to the Client and its
               Representatives, including advice on utilization of any Assets held in the
               Account.

(b)     Provision of General Services by the Investment Manager to the Account. The
        Investment Manager may, to the extent requested by the Board or its
        Representatives, provide support services to the Account, including certain
        administrative, accounting, client services and any other appropriate services, as
        contemplated by this Agreement and in accordance with the express written
        instructions and policies of the Client. Subject to the terms and conditions of this
        Agreement, the Investment Manager shall perform and render support services to
        the Account, including, without limitation, the following:

        (i)     Subject to the requirements of Section 4(d), to the extent advisable or
                requested by the Client or its Representatives, select brokers, dealers, banks,
                counterparties and other intermediaries, including affiliates of the
                Investment Manager, by or through whom any transactions will be executed
                or carried out and open, maintain and close accounts with such entities on
                behalf of the Account;

        (ii)    subject to Section 5(a), enter into and execute agreements, make payments
                and incur obligations on behalf of the Account in furtherance of the
                Investment Manager’s duties hereunder; and

        (iii)   provide general administrative and operational services to the Account.

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(c)     Other Responsibilities.

        (i)     The Investment Manager shall be responsible for decisions to (A) select
                trading intermediaries or counterparties and (B) for negotiation of
                commission rates or other compensation for trading intermediaries or
                counterparties, subject to the requirements of Section 4(d). The Investment
                Manager shall also, at the request of the Client, provide testimony as
                required in connection with the Bankruptcy Court’s review of the Approval
                Order and Monetization Order. The Investment Manager’s primary
                consideration in effecting a transaction or series of transactions (directly or
                through a trading intermediary) for the Account will be Best Execution (as
                defined below).

        (ii)    The Investment Manager shall provide the Client with general market
                commentary as the Investment Manager deems appropriate, which may
                include market commentary on the Excluded Assets.

        (iii)   For purposes of this Agreement, “Best Execution” shall mean Investment
                Manager’s obligation to seek and obtain the most favorable terms
                reasonably available for executing a Transaction on behalf of the Client or
                for the Client’s Account, taking into consideration a variety of factors,
                including: (A) the best price available, net of fees and commissions; (B) the
                reliability, integrity, regulatory compliance and financial condition of the
                trading intermediary or counterparty (including the use of Galaxy Trading
                (as defined below)); (C) the size of, and difficulty, in executing the order
                with reference to a variety of factors (including price, costs, speed,
                likelihood of execution, settlement, size, liquidity, nature of the order,
                market volatility, impact to the overall market and any other relevant
                considerations); and (D) the value of the expected contribution of the
                trading intermediary or counterparty to the investment performance of the
                Client on a continuing basis. In fulfilling its duty of Best Execution,
                Investment Manager may, where appropriate, consider the potential market
                impact of showing the Transaction to multiple counterparties, aiming to
                achieve the most advantageous overall outcome for the Client while
                balancing the need for efficient execution and minimizing any potential
                adverse effects on market liquidity or price movements. The determination
                of Best Execution shall be made in good faith and in accordance with
                applicable laws, regulations and industry standards.

(d)     Trading Partner Selection; Galaxy Parental Guaranty.

        (i)     For each Transaction entered into on behalf of the Client other than
                transactions which the Investment Manager determines, consistent with its
                duties under this Agreement, to effect on an exchange providing for trading
                between counterparties that are anonymous to one another, the Investment
                Manager shall diligently select one or more potential brokers or
                counterparties (each a “Trading Partner”) through the “Trading

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          Counterparty Selection Process”. The Trading Counterparty Selection
          Process shall involve consideration of various factors, including, but not
          limited to, each Trading Partner’s expertise, reputation, execution
          capabilities, access to liquidity, market presence, cost efficiency, and
          execution quality and reliability, with a focus on obtaining the most
          competitive quotes and execution terms by soliciting bids from multiple
          Trading Partners. Subject to Section 4(d)(ii), Investment Manager shall
          solicit quotes from two or more Trading Partners for any transaction, unless,
          despite Investment Manager’s use of reasonable best efforts to solicit quotes
          from two or more Trading Partners (i.e. for the avoidance of doubt, meaning
          two or more counterparties and/or two or more brokers) for any transaction,
          only one quote is available.

  (ii)    Notwithstanding the foregoing, the Client acknowledges that circumstances
          may arise where soliciting quotes from multiple Trading Partners might not
          be consistent with Best Execution. For example, soliciting quotes from
          multiple Trading Partners might risk signaling an imminent significant trade
          to the market that could potentially impact trade execution quality and cost,
          thus potentially prejudicing the Client’s interests and undermining Best
          Execution. In the event that the Investment Manager determines, in its
          reasonable discretion and in good faith, and consistent with its duty of Best
          Execution, that it is in the best interest of the Client to limit the process of
          soliciting quotes from multiple Trading Partners under such circumstances,
          the Investment Manager may choose to select and execute Transactions
          through a single Trading Partner (which, for the avoidance of doubt, may
          include selecting Galaxy Digital Trading Cayman LLC, an affiliate of the
          Investment Manager (“Galaxy Trading”), and if through Galaxy Trading,
          then pursuant to the Cryptocurrency Purchase and Sale Agreement on terms
          to be agreed by Client and Investment Manager, each acting in good faith
          (it being understood that failing to agree to the Cryptocurrency Purchase
          and Sale Agreement shall have no effect on Investment Manager’s
          obligation to seek Best Execution).

  (iii)   The selection of a single Trading Partner under the circumstances described
          in Section 4(d)(ii) shall be subject to the following conditions:

          (A)     The decision to choose a single Trading Partner shall be based on a
                  thorough assessment of its advantages for the execution of Client’s
                  Transaction, consistent with Best Execution and Investment
                  Manager’s obligation to act in the best interest of the Client.

          (B)     The Investment Manager shall document the reasons and
                  justification for selecting a single Trading Partner, which
                  documentation shall detail the selection criteria, due diligence
                  conducted and all communications related to the selection to provide
                  transparency and accountability for the decision-making process
                  and ensure that the selection is made in the best interest of the Client.

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               (C)     In the selection of Galaxy Trading, the Investment Manager is
                       bound by its fiduciary duties (including duties of care and loyalty)
                       and Best Execution obligation to the Client. The Investment
                       Manager will only select a single Trading Partner if it reasonably
                       believes that that doing so is in the best interest of the Client.

        (iv)   The Investment Manager shall regularly review and assess the Trading
               Counterparty Selection Process to ensure that it remains consistent with
               industry best practices and regulatory requirements. Any updates or changes
               to the selection process shall be communicated to the Client in accordance
               with the terms of this Agreement and applicable regulations.

        (v)    Consistent with applicable law, Client hereby authorizes the Investment
               Manager to enter into “agency cross transactions” effected by an affiliate of
               the Investment Manager (“Galaxy Affiliate”) acting as broker for both the
               Account and for the party on the other side of the transaction, in accordance
               with applicable law and subject to compliance with Investment Manager’s
               applicable conflicts policies and procedures. The Investment Manager shall
               only enter into such agency cross transactions if the Investment Manager
               reasonably believes that doing so is in the best interest of the Client. The
               Client understands and agrees that the Investment Manager or such Galaxy
               Affiliate may receive commissions from, and have a potentially conflicting
               division of loyalties and responsibilities regarding, both parties to such
               agency cross transactions. Investment Manager understands and agrees that
               the Client’s grant of authority to the Investment Manager to effect agency
               cross transactions for the Client is terminable at will without penalty,
               effective upon receipt by the Investment Manager of written notice from the
               Client.

        (vi)   The Investment Manager may only select Galaxy Trading or any of its
               affiliates (a “Galaxy Trading Partner”) as a Trading Partner for a
               Transaction if the obligations of the Galaxy Trading Partner in connection
               with such Transaction are guaranteed (the “Galaxy Parental Guaranty”)
               by Galaxy Digital Holdings LP (“Guarantor”), the ultimate parent of the
               Investment Manager (and Galaxy Trading and each of their affiliates).
               Guarantor has provided the Investment Manager with a guaranty in the form
               attached as Exhibit A hereto, which the Parties agree shall constitute an
               acceptable Galaxy Parental Guaranty for this purpose.

(e)     Information Barriers Restrictions.

        (i)    Commitment to Information Barriers: The Investment Manager, along with
               its employees, agents, and representatives (collectively, the “Investment
               Management Professionals”), shall fully comply with the information
               barrier restrictions under its compliance policies and procedures as they
               may be amended from time to time (the “Information Barrier
               Restrictions”) and shall deliver to the Client copies of any subsequent

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         versions of such compliance policies and procedures as well as any
         amendments or updates to such compliance policies and procedures as soon
         as reasonably practicable. These Information Barrier Restrictions are in
         place to prevent any unauthorized use or disclosure of Confidential
         Information (as defined in Section 14 hereunder) received from the Client
         or its Representatives under this Agreement.

  (ii)   Implementation of Information Barrier Restrictions: The Investment
         Management Professionals have implemented, and shall continue to
         implement, comprehensive physical, electronic, and procedural safeguards
         to protect the Confidential Information in a manner with consistent with
         industry best practices. These safeguards include, but are not limited to, the
         following:

         (D)    Internal     and     External     Communications:      Investment
                Management Professionals shall adhere to communication
                restrictions during internal or external communications, which
                encompass text messages, emails, tweets, Instagram posts,
                Facebook updates, and other forms of social media. They are
                prohibited from sharing information about the Services or any
                Confidential Information received under this Agreement with
                employees of any other Galaxy business unit, including Galaxy's
                investment banking, trading, or asset management units not directly
                retained by the Investment Manager, unless expressly authorized in
                writing by the Client.

         (E)    Internal Meetings: Investment Management Professionals shall
                adhere to communication restrictions during internal meetings,
                ensuring that information about the Services or any Confidential
                Information received under this Agreement is not shared with
                employees of any other Galaxy business unit, including Galaxy’s
                investment banking, trading or asset management not directly
                retained by Investment Manager (“Other Galaxy Business Units”),
                unless expressly authorized in writing by the Client.

         (F)    Records: Investment Management Professionals shall not have
                access to non-public information contained in reports, memoranda,
                or files prepared or maintained by Other Galaxy Business Units
                unless they obtain prior written approval from Galaxy’s Chief
                Compliance Officer.

         (G)    Office Space: The Investment Manager shall ensure that office
                spaces occupied by Investment Management Professionals have
                appropriate access controls in place to limit entry to authorized
                individuals and restrict all personnel of Other Galaxy Business
                Units.



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                (H)     Trading Rooms: Unless expressly provided under this Agreement
                        or Investment Management Professionals have obtained prior
                        written approval from Galaxy’s Chief Compliance Officer,
                        Investment Management Professionals shall be restricted from
                        entering rooms maintained by Other Galaxy Business Units.

        (iii)   Further Details: As described in Appendix C attached hereto, the measures
                described hereunder shall include the establishment of robust internal
                controls and surveillance, strict limitation of access to Confidential
                Information on a need-to-know basis, and the conduct of regular training
                programs for all employees regarding the responsible handling of
                Confidential Information.

        (iv)    Need-to-Know Basis: The Investment Management Professionals shall
                restrict the dissemination of Confidential Information within the Galaxy
                organization to only those employees and representatives who have a
                genuine need to know such information in order to fulfill the Investment
                Manager's obligations under this Agreement. These individuals shall be
                informed of the confidential nature of the information and the obligations
                set forth in this Section 4(e) and Investment Manager shall use best efforts
                to ensure that such individuals abide by obligations set forth in this Section
                4(e).

(f)     Further Assurances. The Investment Manager further agrees that it:

        (i)     will at all times conform, to the best of its knowledge and in good faith, to
                all applicable rules and regulations applicable to the Investment Manager in
                its capacity as an advisor to the Client in all material respects and in addition
                will conduct its activities under this Agreement to the best of its knowledge
                and in good faith, in accordance with any applicable rules and regulations
                of any governmental or self-regulatory authority;

        (ii)    will report to the Board and its Representatives and will review with
                Representatives of the Client, on a regular basis and on an ad hoc basis as
                reasonably requested by the Board, the Client’s Assets, as well as the
                Client’s general investment strategies and/or objectives and the
                performance of the Client’s Assets in relation to standard industry indices
                and general conditions affecting the marketplace, and will provide various
                other reports from time to time as requested by the Client or its
                Representatives;

        (iii)   will attend standing weekly calls with the Client and its Representatives,
                and advisors of the Unsecured Creditors Committee (the “UCC”) and the
                Ad Hoc Group, for the first six weeks commencing the week after the first
                completed transaction pursuant to this Agreement, and thereafter the
                cadence will change to monthly;



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             (iv)    will provide, or instruct the Fund Administrator to provide, written reports
                     no later than five (5) Business Days after the calendar end of each month
                     from the Fund Administrator (as defined below). Such reports shall detail
                     all completed transactions to the Board and its Representatives, the UCC
                     and the Ad Hoc Group, and each of their advisors, and shall include the
                     following information: (A) token name, (B) quantity sold, (C) average price
                     received and (D) execution type and (E) a summary of the hedging yield
                     generated and/or put options purchased;

             (v)     will comply with the Investment Program and any investment guidelines
                     separately agreed between the Investment Manager and the Client from time
                     to time in all respects (except as otherwise instructed by the Client) as they
                     relate to diversification, concentration and portfolio rebalancing of the
                     Client’s investments in individual Assets or Asset groups;

             (vi)    will continuously monitor the value of the Assets held in the Account and
                     events relating to the digital asset markets in which the Client’s Assets trade,
                     and will notify the Client or its Representatives of any market events or
                     other situations as the Investment Manager deems appropriate. In addition,
                     Investment Manager will assist the Client, upon the Client’s request, in
                     evaluating the impact that such an event may have on the net asset value of
                     the Client’s Assets; and

             (vii)   will prepare standard reporting and provide regular market commentary
                     with respect to the Client’s Account as reasonably requested by Client or its
                     Representatives and will furnish the Board such reports as the Client may
                     reasonably request.

5.   Custody and Management of Account.

     (a)     Custody; Investment Manager Authority. The Assets held in the Account may be
             held in the custody of one or more firms designated by Client to provide clearing
             and custody services for the Assets held in the Account (each such firm, together
             with any affiliate thereof at which Assets are held, the “Custodian”). Any account
             maintained with such a Custodian shall be in the name of and for the benefit of the
             Client, and title to all Assets shall remain with the Client. The Custodian shall at all
             times have custody and/or physical control of the Assets held in the Account unless
             otherwise directed by the Client. The Investment Manager and the Client do not
             intend for the Investment Manager to have “custody,” for the purposes of the U.S.
             Investment Advisers Act of 1940, as amended (the “Advisers Act”), to the extent
             applicable, over the Assets held in the Account, and therefore the Investment
             Manager shall in no event have any authority to (and shall not) instruct the
             Custodian to transfer cash to itself or any other person, or have or take, or direct
             any person other than the Custodian to have or take, custody and/or physical control
             of any Assets in the Account, except in each case instructions to the Custodian to
             settle bona fide Transactions effected by the Investment Manager for the Account.
             The Investment Manager shall not have the authority to (and shall not) amend the

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             terms of the Client’s custody or clearing arrangements with respect to the Account
             or appoint an alternate Custodian.

6.   Aggregation and Allocations.

     (a)     If the Investment Manager determines that it would be in the best interests of the
             Client to bundle or aggregate trades for the Account with order(s) for the account(s)
             of one or more other non-affiliated clients of the Investment Manager, the
             Investment Manager shall execute orders for the Account and for the accounts of
             such other clients on a fair and equitable basis. In such situations, the Investment
             Manager may place orders for the Account and each such other account
             simultaneously, and in circumstances where (because of prevailing market
             conditions), all such orders are filled through multiple trades at different prices, the
             Investment Manager may cause the Account and each such other account to pay or
             receive the average of the prices at which the orders were filled, with the transaction
             costs generally allocated pro rata based on the size of each client’s participation in
             the order. In the event of a partial fill, allocations may be modified by the
             Investment Manager, as deemed to be appropriate and fair and equitable, including
             in order to avoid odd lots or de minimis allocations. If all such orders cannot be
             executed under prevailing market conditions, the Investment Manager shall allocate
             the assets traded among the Account and such other accounts in a manner
             determined by the Investment Manager to be fair and equitable. When orders are
             not aggregated, trades generally will be processed in the order that they were placed
             with the counterparties which may result in one client getting more or less favorable
             price or terms than another or may not be filled entirely or at all or some
             opportunities for reduced transaction cost of economies of scale may not be
             achieved.

     (b)     Investment Manager will aggregate trades and allocate assets in accordance with
             its generally applicable policies and procedures with respect to trade aggregation
             and allocation (the “Allocation Policy”). Investment Manager agrees to provide
             the Client with advance notice, as soon as reasonably practicable, of any upcoming
             material revisions, amendments or updates to the Allocation Policy.
             Notwithstanding anything to the contrary herein, in all events, the Client shall at all
             times be treated in a manner that is fair and reasonable, considered in relation to the
             Investment Manager’s other clients, as regards the allocation of investment
             opportunities.

7.   Fees and Expenses.

     (a)     Management Fees.

             (i)    As consideration for Investment Manager’s services hereunder, a
                    management fee shall be paid monthly in arrears, within 30 days of the end
                    of the month, and shall be determined as of the last day of each month (such
                    determination date, the “Management Fee Calculation Date”).



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         (A)    The management fee for the Investment Manager’s hedging
                mandate (the “Hedging Fee”) shall be, as of any Management Fee
                Calculation Date, an amount equal to the product of:

                (1)     0.005;

                (2)     the number of calendar days in the month of the
                        Management Fee Calculation Date divided by 365; and

                (3)     the average USD net asset value of Hedging Assets for that
                        month;

                provided that clause (3) shall be calculated for each Hedging Asset
                for any given month as (w) the sum of the USD value of that
                Hedging Asset on each calendar day of that month divided by (x)
                the total number of calendar days in that month. The USD value of
                each Hedging Asset on a given calendar day shall be calculated as
                (y) the highest quantity of that Hedging Asset held in the Account
                on that day times (z) the trading price of that Hedging Asset at
                5:30pm (Coordinated Universal Time) on that calendar day using
                prices quoted by a fund administrator agreed by Client and
                Investment Manager each acting in good faith (the “Fund
                Administrator”). In the event the Fund Administrator at any given
                time is unable to quote prices for a Hedging Asset, the Parties shall
                cooperate in good faith to engage an independent fund administrator
                reasonably agreeable to each of the Parties to replace the Fund
                Administrator. An illustrative example of how to calculate the
                Hedging Fee is set forth on Exhibit B attached hereto.

         (B)    The management fee for the Investment Manager’s liquidation
                mandate (the “Liquidation Fee”, together with the Hedging Fee, the
                “Total Management Fee” and each a “Management Fee”) shall
                be, as of any Management Fee Calculation Date, the product of

                (1)     0.00075; and

                (2)     the total proceeds received by the Client in connection with
                        the sale of any Liquidation Assets in the Account during the
                        month of the Management Fee Calculation Date.

  (ii)   If this Agreement is terminated on any date that is not the first business day
         of a calendar month, the Management Fee Calculation Date shall be the
         effective date of the termination of this Agreement. The Hedging Fee shall
         be pro-rated in the event that a Management Fee Calculation Date occurs
         earlier than the last business day of any calendar month or the Client makes
         any additions to or withdrawals from the Account during a calendar month.



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(b)     Invoices. All invoices shall be sent, and all payments shall be made, in accordance
        with the order entered into by the Bankruptcy Court approving the Approval Order.

(c)     Expenses. The Account shall bear (i) all reasonable and documented out of pocket
        costs and expenses incurred by the Investment Manager in connection with
        performing the Services (to the extent the Investment Manager is not reimbursed
        by the subject of an investment or other third parties), including, without limitation,
        (1) commissions, interest or other finance charges, custodial and brokerage fees and
        any other expenses related to the sale or transmittal of the positions in the Account,
        provided that Client shall not be responsible for any fees paid by Investment
        Manager to an affiliate thereof engaging in brokerage services to effect a
        Transaction, and (2) any reasonable and documented fees and expenses of the
        Investment Manager’s outside legal counsel and other advisors incurred in
        performing the Services after the Effective Date, provided that Investment Manager
        shall notify Client prior to engaging any advisors as contemplated by clause (2) and
        (ii) up to $100,000 for fees and expenses incurred by the Investment Manager’s
        outside legal counsel before the Effective Date (together, the “Expenses”), without
        further order of, or application to, the Bankruptcy Court by such professional
        advisor, the Investment Manager or the Client; provided that prior to any such
        Expenses being due, Investment Manager shall furnish the Client with invoices
        relating to such Expenses, which shall include supporting documentation setting
        forth in reasonable detail the nature of the Expenses, the transactions to which such
        Expenses relate, the calculation thereof (where applicable) and such other
        information relating thereto as may be reasonably requested by the Client;
        provided, further, that no outside legal counsel to the Investment Manager shall be
        required to provide the Client with individual time detail or a breakdown of tasks
        by individual. In the event of any termination of this Agreement, whether pursuant
        to Section 8 hereof or otherwise, the Client shall remain obligated to reimburse the
        Investment Manager for any and all Expenses accrued up to and including such
        date of termination.

(d)     Court Approval. Notwithstanding anything to the contrary herein, the Client (or, if
        applicable, its chosen designee) shall not pay the Investment Manager any fees or
        charges accrued under this Agreement unless and until the Bankruptcy Court has
        entered an order approving the Client’s entry into this Agreement and payment of
        fees and charges accrued under this Agreement.

(e)     Fees and Expenses Generally. The Client’s obligation to pay any fee, expense or
        indemnity set forth herein shall be absolute and unconditional and shall not be
        subject to any reduction by way of setoff, recoupment or counterclaim. Once paid,
        no amount paid under this Agreement shall be refundable under any circumstances.
        Nothing herein shall impact any claims that Client may have against Investment
        Manager or that Investment Manager may have against Client unrelated to the
        negotiation of, entry into and performance under this Agreement, and the rights and
        obligations of the Parties set forth herein. The Parties acknowledge and agree that
        any fee, expense or indemnity to be paid by Client hereunder may be paid by Client
        or a designee chosen by Client in its sole and absolute discretion.

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8.   Termination.

     (a)     The Parties may mutually agree to terminate this Agreement at any time, subject to
             an agreement on the date on which the Agreement will terminate (the
             “Termination Date”).

     (b)     Investment Manager may terminate this Agreement:

             (i)    upon ninety (90) calendar days prior written notice or such shorter period
                    of time as the parties may agree in writing (in each case with email being
                    sufficient); or

             (ii)   immediately in accordance with Section 11.

             The Client agrees that the providing of any such notice shall not be in violation of
             the automatic stay provided for under section 362 of title 11 of the United States
             Code (the “Bankruptcy Code”) or otherwise.

     (c)     The Client may terminate this Agreement:

             (i)    upon forty-five (45) calendar days prior written notice or such shorter notice
                    period as the parties may agree in writing (in each case with email being
                    sufficient); or

             (ii)   with immediate effect at any time for Cause. For this purpose, the term
                    “Cause” means (A) a material breach by Investment Manager of this
                    Agreement (provided, that Investment Manager shall have a cure period of
                    thirty (30) days following notice of breach in the case of any such breach
                    that is susceptible of cure, and provided further that such cure period shall
                    be reduced to five (5) days with respect to any repeat material breach after
                    the first occurrence), (B) the commission by Investment Manager of a
                    Disqualifying Action (as defined below) in connection with its duties under
                    this Agreement, (C) Investment Manager (or any of its or its affiliates’
                    respective principals, officers, directors, members, partners, shareholders,
                    agents and employees) being convicted of (including by pleading guilty or
                    nolo contendere to) a felony or becoming subject to any other legal or
                    regulatory sanction, injunction or other limitation on its activities that would
                    materially interfere with the Investment Manager’s ability to perform its
                    obligations hereunder or (D) the entry of Investment Manager into
                    bankruptcy or insolvency proceedings.

     (d)     Termination of this Agreement shall not, however, affect liabilities and obligations
             under this Agreement or incurred or arising from Transactions initiated under this
             Agreement prior to the termination date, including the payment of any accrued fees
             pursuant to Section 7 hereof. Following any termination of this Agreement, the
             Investment Manager shall work with the Client in good faith to effect a prompt and
             orderly transition of the Services to the Client or to such third party as the Client
             shall designate and in a manner consistent with all applicable duties and obligations

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             under all applicable laws, rules and regulations; provided, however, that the
             Investment Manager will have no obligation to recommend any action with respect
             to, or to liquidate, the assets in the Account nor shall the Investment Manager be
             required to incur any out of pocket expense.

9.   Limitation of Liability; Exculpation and Indemnification; Other Activities; Force
     Majeure.

     (a)     Limitation of Liability.

             (i)    The Investment Manager does not guarantee the future performance of the
                    Account or any specific level of performance, the success of any investment
                    decision or strategy that the Investment Manager may use, or the success of
                    the Investment Manager’s overall management of the Account. The
                    Investment Manager does not provide any express or implied warranty as
                    to the performance or profitability of the Account or any part thereof or that
                    any specific investment objectives will be successfully met. The Client
                    understands that investment decisions made by the Investment Manager on
                    behalf of the Account are subject to various market, currency, economic,
                    political and business risks, and that those investment decisions will not
                    always be profitable.

             (ii)   Except in the cases of willful misconduct, gross negligence, fraud, reckless
                    disregard, material breach of this Agreement, or, in the case of Investment
                    Manager, Investment Manager’s operational errors in handling Assets or
                    effecting transactions for the Client’s account (each, a “Disqualifying
                    Action”), Investment Manager shall not have any liability (whether direct
                    or indirect, in contract or tort or otherwise) for any claims, liabilities, losses,
                    damages, penalties, obligations or expenses of any kind whatsoever,
                    including reasonable attorneys’ fees and court costs (“Losses”) suffered by
                    the Client (1) as the result of any act or omission by the Investment Manager
                    in connection with, arising out of or relating to the performance of the
                    Services or (2) any “passive breach” of the Investment Program or any
                    investment guidelines separately agreed between the Investment Manager
                    and the Client from time to time arising solely as a result of (x) changes in
                    market value or (y) additions to or withdrawals from the Account or
                    portfolio rebalancing, in each case to the extent not within the control of the
                    Investment Manager. Under no circumstances (including due to gross
                    negligence, bad faith, intentional fraud or willful misconduct) will any Party
                    be responsible for any special, consequential, incidental or exemplary
                    damages or loss hereunder (nor any lost profits, savings or business
                    opportunity). The Investment Manager and any person acting on its behalf
                    shall be entitled to rely in good faith upon information, opinions, reports or
                    statements of legal counsel (as to matters of law) and accountants (as to
                    matters of accounting or tax) and, accordingly, such good faith reliance by
                    a person shall not constitute a Disqualifying Action so long as such counsel
                    or accountant was selected and consulted with due care.

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(b)     Indemnification.

        (i)     The Client agrees to indemnify and hold harmless each of the Investment
                Manager, its affiliates or personnel or any of their respective directors,
                members, officers, employees, affiliates, secondees, agents, delegates,
                partners or representatives (each, an “Indemnified Party” and collectively,
                the “Indemnified Parties”), against any Losses suffered or incurred by
                reason of, relating to, based upon, arising from or in connection with
                (directly or indirectly) (A) the operations, business or affairs of the Client,
                or any actions taken by the Investment Manager or failure by it to act (even
                if negligent) in connection with this Agreement, (B) a Disqualifying Action
                by the Client, or (C) the Client’s breach of this Agreement, in each case
                except to the extent that such Losses are determined by a court of competent
                jurisdiction, upon entry of a final judgment, to be attributable to a
                Disqualifying Action of such Indemnified Party.

        (ii)    To the fullest extent permitted by law, the Client shall, upon the request of
                any Indemnified Party, advance or promptly reimburse such Indemnified
                Party’s out-of-pocket costs of investigation (whether internal or external),
                litigation or appeal, including attorneys’ fees and disbursements, reasonably
                incurred in responding to, litigating or endeavoring to settle any claim,
                action, suit, investigation or proceeding, whether or not pending or
                threatened, and whether or not any Indemnified Party is a party, arising out
                of or in connection with or relating to the operations, business or affairs of
                the or in furtherance of the interests of the Client (a “Claim”); provided that
                the affected Indemnified Party shall, as a condition of such Indemnified
                Party’s right to receive such advances and reimbursements, undertake in
                writing to promptly repay the applicable funds for all such advancements or
                reimbursements if a final judgment of a court of competent jurisdiction has
                determined that such Indemnified Party is not then entitled to
                indemnification under this Section 9. If any Indemnified Party recovers any
                amounts in respect of any Claims from insurance coverage or any third-
                party source, then such Indemnified Party shall, to the extent that such
                recovery is duplicative, reimburse the Client for any amounts previously
                paid to it by the Client in respect of such Claims.

        (iii)   Notwithstanding anything else contained herein to the contrary, the
                provisions of this Section 9(b) shall in no way limit the liability of the
                Guarantor under the Galaxy Parental Guaranty.

        (iv)    The right of any Indemnified Party to indemnification as provided herein
                shall be cumulative of, and in addition to, any and all rights to which such
                Indemnified Party may otherwise be entitled by contract or as a matter of
                law or equity and shall extend to such Indemnified Party’s successors,
                assigns and legal representatives.




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        (v)     Promptly after receipt by an Indemnified Party of notice of any Claim or of
                the commencement of any action or proceeding involving a Claim, such
                Indemnified Party shall, if a claim for indemnification in respect thereof is
                to be made against the Client, give written notice to the Client of the receipt
                of such Claim or the commencement of such action or proceeding;
                provided, that the failure of any Indemnified Party to give notice as provided
                herein shall not relieve the Client of its obligations hereunder, except to the
                extent that the Client is actually prejudiced by such failure to give notice.

        (vi)    Each Indemnified Party shall cooperate with the Client and its counsel in
                responding to, defending and endeavoring to settle any proceedings or
                Losses that may be subject to indemnification by the Client pursuant to this
                Section 9(b). Without limiting the generality of the immediately preceding
                sentence, if any proceeding is commenced against an Indemnified Party, the
                Client shall be entitled to participate in and to assume the defense thereof to
                the extent that the Client may wish, with counsel reasonably satisfactory to
                such Indemnified Party. After notice from the Client to such Indemnified
                Party of the Client’s election to assume the defense thereof, the Client shall
                not be liable for expenses subsequently incurred by such Indemnified Party
                without the consent of the Client (which shall not be unreasonably withheld)
                in connection with the defense thereof. Without the Indemnified Party’s
                consent, the Client will not consent to entry of any judgment in or enter into
                any settlement of any such action or proceeding which does not include as
                an unconditional term thereof the giving by every claimant or plaintiff to
                such Indemnified Party of a release from all liability in respect of such claim
                or litigation.

        (vii)   Nothing herein shall constitute a waiver or limitation of any rights which
                the Client may have under any applicable securities laws.

(c)     Force Majeure. The Investment Manager shall not be in default in the performance
        of its obligations under this Agreement to the extent that the performance of any
        such obligations is prevented or delayed by any cause which is beyond the
        reasonable control of the Investment Manager, including without limitation due to
        any action, policy, rule, regulation or order of any governmental or self-regulatory
        authority.

(d)     Securities and Commodities Law Compliance. The Investment Manager reserves
        the right to take, or refrain from taking, any action hereunder to ensure compliance
        with all applicable securities and commodities laws, as reasonably determined by
        the Investment Manager (in consultation with counsel, which may be internal
        counsel) in its sole and absolute discretion. No action taken (or refrained from
        being taken) pursuant to this Section 9(d) shall constitute a breach of the Investment
        Manager’s obligations hereunder.

(e)     Non-Exclusivity; Other Activities.



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              (i)     It is understood and agreed by the Parties that the appointment of the
                      Investment Manager under this Agreement is on a non-exclusive basis and
                      the Investment Manager may provide investment advisory services to other
                      investment accounts, investment vehicles and other clients, subject to the
                      Investment Manager’s compliance with this Agreement and applicable laws
                      and regulations.

              (ii)    Subject to Section 1 and Section 6 hereof, nothing in this Agreement shall
                      limit or restrict the Investment Manager and its affiliates, and its and their
                      officers, employees or representatives from buying, selling or trading in any
                      investments for its own account or for the account of any other investment
                      vehicle, investment account or any other client managed or advised by the
                      Investment Manager. The Client acknowledges that Galaxy Digital LP is a
                      financial services firm engaged directly and through its subsidiaries and
                      affiliates (collectively, the “Firm”) in investment banking, investment,
                      trading, financial advisory services, investment management, asset
                      management and other advisory services. The Client understands and
                      acknowledges that the Firm will not be under any duty to disclose to the
                      Client, or use for the benefit of the Client, any confidential or non-public
                      information obtained by it in the course of providing services to any other
                      person or engaging in any other transaction (including as principal) or
                      business activities. In the ordinary course of business activities, the Firm
                      or its personnel may at any time hold long or short positions, and may trade
                      or otherwise effect transactions, for its or their own accounts or the accounts
                      of customers, in any assets or financial instruments, including but not
                      limited to fiat currency, digital assets, securities, bank loans and derivatives
                      of the Client or any other party to a transaction or any of their respective
                      affiliates.

10.   Representations, Warranties and Covenants.

      (a)     General Representations. Each of the Client and the Investment Manager hereby
              represents and warrants as to itself as follows:

              (i)     It has been duly organized and is validly existing and in good standing under
                      the laws of its jurisdiction of organization, with power and authority to own
                      its own properties and conduct its business as currently conducted.

              (ii)    This Agreement has been duly authorized, executed and delivered by such
                      Party and constitutes its valid and binding obligation, enforceable in
                      accordance with its terms, subject only to approval by the Bankruptcy
                      Court.

              (iii)   The execution, delivery and performance of this Agreement by such Party
                      will not violate or result in any default under such Party’s certificate of
                      formation or operating agreement (or equivalent constituent documents),
                      any material contract or agreement to which such Party is a party or by


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                which it or its assets may be bound or, to the best of each Party’s knowledge
                and in good faith, any statute or any rule, regulation or order of any
                governmental or regulatory authority currently in effect.

(b)     Client’s Representations. The Client hereby further represents, warrants and agrees
        as follows:

        (i)     The Client has reviewed and acknowledges the disclosure set forth in
                Galaxy’s Form ADV Part 2, which can be found via the Securities and
                Exchange           Commission’s        (“SEC”)     website        at
                https://adviserinfo.sec.gov/firm/summary/293908.

        (ii)    The Client (either alone or together with any advisors retained by the Client
                in connection with evaluating the merits and risks of entering into this
                Agreement) has sufficient knowledge and experience in financial and
                business matters so as to be capable of evaluating the merits and risks of
                entering into this Agreement and are able to bear the economic risk of the
                Services, including the risk of a complete loss of the Assets.

        (iii)   The Client has been given the opportunity to (A) ask questions of, and
                receive answers from, the Investment Manager concerning the terms and
                conditions of the Services, this Agreement (including for the avoidance of
                doubt all exhibits, schedules, appendices and annexes hereto) and other
                matters pertaining to the Investment Manager’s management of the Assets
                and (B) obtain any additional information which the Investment Manager
                can obtain without unreasonable effort or expense that is necessary to
                evaluate the merits and risks of the Services. The Client has carefully
                considered and has, to the extent it believes such discussion necessary,
                discussed with legal, tax, accounting and financial advisors the suitability
                of entering into this Agreement in light of its particular tax and financial
                situation and has determined that entering into this Agreement is suitable
                for itself.

        (iv)    The Client agrees to provide, at the time or times prescribed by law and at
                such time or times as requested, any information, documentation or
                certification required by law or otherwise requested that the Investment
                Manager reasonably believes will enable the Investment Manager or any of
                its respective employees or agents to comply with all applicable anti-money
                laundering statutes, rules, regulations and policies, including any policies
                applicable to an investment held or proposed to be held by the Account.

        (v)     All Assets held in the Account are property of the estates (within the
                meaning of section 541 of the Bankruptcy Code) of the Client in the Chapter
                11 Cases.

        (vi)    Client is an “accredited investor” as that term is defined in Rule 501 of
                Regulation D promulgated under the Securities Act of 1933, as amended, a


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                “qualified eligible person” as such term is defined under Rule 4.7
                promulgated under the U.S. Commodity Exchange Act, as amended
                (together with the rules and regulations promulgated thereunder, the
                “Commodity Exchange Act”) and an “eligible contract participant” as
                such term is defined in Section 1a(18) of the Commodity Exchange Act.

        (vii)   Client is not an “investment company” registered under the 1940 Act.

        (viii) Upon Investment Manager’s written request, and to the extent necessary to
               permit Investment Manager to perform the Services, senior management of
               the Client, including its Chief Executive Officer and Chief Financial
               Officer, shall timely make themselves reasonably available to meet with
               Investment Manager.

        (ix)    Before the Effective Date, Client shall use reasonable best efforts to ensure
                that each Client Beneficiary (A) becomes a party to this agreement as
                contemplated by Section 16(i) and (B) grants a power of attorney to
                Investment Manager as contemplated by Section 3(e)(i).

        (x)     Client shall promptly notify the Investment Manager of any change in the
                representations, warranties and covenants set forth herein.

(c)     Investment Manager Representations. The Investment Manager hereby further
        represents and warrants that:

        (i)     (A) It is an “investment adviser” as such term is defined under the Advisers
                Act, and is duly registered with the Securities and Exchange Commission
                (“SEC”), (B) maintains and implements internal procedures and policies
                reasonably designed to comply in all material respects with laws as
                applicable to the Investment Manager, including the Advisers Act and U.S.
                securities laws and (C) complies in all material respects with laws as
                applicable to the Investment Manager, including the Advisers Act and U.S.
                securities laws.

        (ii)    It is duly qualified to do business and is in good standing in each jurisdiction
                where the conduct of its business requires it to be so qualified and has in
                effect all federal, state, local and foreign governmental authorizations
                necessary for it to carry on its business as it is now conducted.

        (iii)   In connection with the execution, delivery or performance of this
                Agreement, Investment Manager is not required to make or obtain, other
                than the Approval Order, any consents or approvals of, or filings or
                registrations with, any court, administrative agency or commission or other
                self-regulatory organization, governmental authority or instrumentality,
                including the SEC, or with any third party.

        (iv)    Neither the Investment Manager nor any “person associated with an
                investment adviser” (as defined in the Advisers Act) thereof, as applicable,

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                      is ineligible pursuant to Section 203 of the Advisers Act to serve as an
                      investment adviser or as an associated person to a registered investment
                      adviser.

              (v)     In performing its services and obligations pursuant to this Agreement, the
                      Investment Manager will comply with the Investment Program, any
                      investment guidelines separately agreed between the Investment Manager
                      and the Client from time to time, and all applicable written supervisory and
                      compliance policies and procedures of Investment Manager in accordance
                      with the terms hereof; provided that any actions taken by Investment
                      Manager prior to the date hereof, in connection with or in preparation for
                      its performance of services and obligation pursuant to this Agreement and
                      for the benefit of the Client, shall also be deemed subject to the
                      representations, duties and obligations of Investment Manager hereunder.

              (vi)    The Investment Manager shall furnish to the Client such information
                      regarding the Investment Manager, its affiliates and its personnel as the
                      Client may reasonably request from time to time (A) in connection with the
                      preparation of disclosure documents and/or materials required for
                      regulatory compliance purposes or as required by applicable law or (B) to
                      enable the Client to carry out the actions contemplated by this Agreement.

              (vii)   Other than the Approval Order, the Investment Manager has obtained all
                      material governmental, regulatory, self-regulatory and exchange licenses
                      and approvals that are required for the Investment Manager to perform its
                      obligations hereunder.

              (viii) Upon Client’s written request, and to the extent necessary to comply with
                     its obligations under this Agreement, senior management of the Investment
                     Manager, including its Global Head of Asset Management and Chief
                     Operating Officer, shall timely make themselves reasonably available to
                     meet with the Board.

      (d)     The foregoing representations, warranties and agreements contained in this Section
              10 shall continue and remain in effect, being deemed to be restated on an ongoing
              basis (including in connection with each transaction executed on behalf of the
              Client), during the term of this Agreement. Each Party shall promptly notify the
              other Parties of the occurrence of any event or condition that is reasonably likely to
              make any of the foregoing representations, warranties and agreements materially
              incomplete, inaccurate, false or misleading.

11.   Bankruptcy Court Approval.

      The Client shall seek approval of its entry into this Agreement by the Bankruptcy Court
      pursuant to Section 363 of the Bankruptcy Code. Such motion, the proposed Approval
      Order, and an accompanying motion seeking approval of the contemplated monetization
      program and proposed order approving the same (the “Monetization Order”) shall be


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      provided to the Investment Manager (and its legal representatives) at least five (5) days
      prior to its filing, the substance and form of each of which must in any event be reasonably
      acceptable to the Investment Manager. The Investment Manager shall have no obligation
      to provide services under this Agreement unless and until (a) the Bankruptcy Court enters
      the Monetization Order and (b) the Bankruptcy Court enters the Approval Order which is
      reasonably acceptable to the Investment Manager and which Approval Order approves this
      Agreement in all material respects. Notwithstanding anything herein to the contrary, the
      Investment Manager shall not be responsible in any respect for the Client’s compliance
      with any Monetization Order and shall not be liable for any breach by the Client of the
      terms and conditions thereof.

      If the Approval Order is not entered on or before September 30, 2023, or is later reversed,
      materially modified without Investment Manager’s consent or set aside for any reason, the
      Investment Manager may terminate this Agreement immediately. All fees and expenses
      that come due hereunder (including any indemnities) shall be entitled to priority as
      administrative expenses under sections 503(b)(1)(A) and 507(a)(2) of the Bankruptcy
      Code.

      The Client will use its best efforts to ensure that, to the fullest extent permitted by law, any
      confirmed plan of reorganization or liquidation in the Chapter 11 Cases contains typical
      and customary releases (both from the Client and from third parties) and exculpation
      provisions releasing, waiving and forever discharging the Investment Manager, its
      divisions, affiliates, any person controlling the Investment Manager or its affiliates and
      their respective current and former directors, officers, partners, managers, members,
      agents, representatives and employees from any and all claims, obligations, suits,
      judgments, damages, demands, debts, rights, causes of action and liabilities related to the
      Client or the Services. The terms of this Section are solely for the Investment Manager’s
      benefit and may be waived, in whole or in part, only by the Investment Manager.

12.   Expertise. The Client acknowledges and agrees that Galaxy’s asset management expertise,
      as well as its digital asset markets knowledge, financial skills and risk management
      capabilities, some or all of which may be required by the Client during the term of the
      Services, were important factors in determining the amount of the Management Fees set
      forth herein, and that the ultimate benefit to the Client of the Investment Manager’s services
      hereunder could not be measured merely by reference to the number of hours to be
      expended by the Investment Manager in the performance of such services. The Client also
      acknowledges and agrees that the Management Fees (together with any other amounts that
      come due hereunder) have been agreed upon by the Parties in anticipation that a substantial
      commitment of time and effort will be required of the Investment Manager and its
      professionals over the life of the Services and in light of the fact that such commitment
      may foreclose other opportunities for the Investment Manager, and that the actual time and
      commitment required of the Investment Manager and its professionals to perform the
      services hereunder may vary substantially from week to week or month to month, creating
      “peak load” issues for Galaxy. In addition, given the numerous issues which Galaxy may
      be required to address in the performance of its services hereunder, its commitment to the
      variable level of time and effort necessary to address all such issues as they arise and the
      market prices for its services for engagements of this nature in an out-of-court context, the

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      Client agrees that the fee arrangements specified under Section 7 are commercially
      reasonable.

13.   Information; Cooperation. In connection with the Services, the Client will provide
      Investment Manager with reasonable access to the Client’s Representatives, and will
      furnish the Investment Manager and cause its Representatives to furnish Investment
      Manager with such information as the Investment Manager reasonable believes appropriate
      for the Services (all such information so furnished being the “Information”). The Client
      recognizes and confirms that the Investment Manager will use and rely primarily on the
      Information and on information available from generally recognized public sources in
      performing its services without having independently verified the same. Neither the Client
      or the Investment Manager assumes responsibility for the accuracy or completeness of the
      Information or have any liability therefor. The Client will promptly notify the Investment
      Manager if it learns of any material inaccuracy or misstatement in, or material omission
      from, any Information theretofore delivered to the Investment Manager. For the avoidance
      of doubt, all Information shall remain the property of Client and under its control.

      The Client agrees to cooperate with the Investment Manager in the performance of its
      services under this Agreement and, upon Investment Manager’s reasonable request, shall
      provide the Investment Manager with timely access to and use of personnel, facilities,
      equipment, data and information to the extent necessary to permit the Investment Manager
      to perform its services under this Agreement.

14.   Confidentiality.

      (a)     Neither Party shall disclose or use (including, without limitation, for trading
              purposes) any information, records, investment advice or other information
              (including any “Information” as defined above) (the “Confidential Information”)
              obtained pursuant to this Agreement in any manner whatsoever except as expressly
              authorized in this Agreement, except: (i) as required by law or in connection with
              requests for information or documents, subpoena, civil or criminal investigative
              demand or similar process; (ii) as necessary to effect the terms of this Agreement;
              (iii) as required to be furnished to any governmental regulatory agency or self-
              regulating body in connection with any judicial, governmental or other regulatory
              proceeding; or (iv) as reasonably required by any affiliate of the Client on a need-
              to-know basis in connection with this Agreement. Except as expressly set forth
              herein or otherwise agreed by the Parties in writing, all Confidential Information
              received by any Party may only be used by such Party in connection with this
              Agreement. The foregoing obligations shall not extend to any information to the
              extent that the party receiving such Confidential Information (the “Receiving
              Party”) can demonstrate that such information (A) was at the time of disclosure or,
              to the extent that such information thereafter becomes through no fault of the
              Receiving Party, a part of the public domain by publication or otherwise; (B) was
              already properly and lawfully in the Receiving Party’s possession at the time it was
              received by the Receiving Party free from any obligation of confidentiality, (ccc)
              was or is lawfully received by the Receiving Party from a third party who was under
              no obligation of confidentiality to the Party disclosing the Confidential Information

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              (the “Disclosing Party”) with respect thereto, or (C) is independently developed
              by the Receiving Party or its independent contractors who did not have access to
              the Disclosing Party’s Confidential Information.

      (b)     Notwithstanding anything herein to the contrary, (i) Client may disclose to any and
              all persons, without limitation of any kind, as is requested or required in connection
              with the Chapter 11 Cases and/or transactions or litigation related thereto, including
              of any plan confirmed by the Bankruptcy Court, Client’s U.S. federal income tax
              treatment and the U.S. federal income tax structure of the transactions contemplated
              hereby relating to the Client and all materials of any kind (including opinions or
              other tax analyses) that are provided to it relating to such tax treatment and tax
              structure; and (ii) Client may disclose all Confidential Information that is
              appropriate for the preparation or auditing of Client’s financial statements or tax
              returns to all persons involved in the preparation or auditing of such financial
              statements or tax returns. No disclosure of any Confidential Information referenced
              in clause (i) of the preceding sentence may be made to the extent nondisclosure is
              reasonably necessary in order to comply with applicable securities laws.

15.   Notice of Litigation or Certain Other Events. Investment Manager shall promptly notify
      Client of (a) the institution of any litigation or government proceedings against Investment
      Manager that if determined adversely would reasonably be expected to have a material
      adverse effect on Client. (b) any settlement, decree, judgment, award or other material
      development relating to litigation or proceedings described in clause (a) of this paragraph;
      (c) the incapacity of Investment Manager that would reasonably be expected to result in a
      material adverse change to Client; (d) any breach or failure by Investment Manager to
      perform its material obligations under this Agreement; and (e) the occurrence of
      Regulatory Event involving Investment Manager. A “Regulatory Event” shall be deemed
      to occur upon (x) the indictment of Investment Manager of a felony-level criminal offense
      or the commencement of a securities-related litigation (whether criminal or civil) against
      Investment Manager or (y) the commencement of an administrative proceeding before, or
      investigations or actions by, the SEC or any other federal regulatory or self-regulatory
      agency or any state agency relating to an alleged securities laws violation by Investment
      Manager. For the avoidance of doubt, the receipt of a “Wells notice,” the commencement
      of an informal inquiry, a regulatory “sweep” or an ordinary audit or exam by the SEC or
      other regulatory body will not be deemed a Regulatory Event.

16.   Miscellaneous

      (a)     Successors and Assigns. The provisions of this Agreement shall be binding upon
              and inure to the benefit of the Parties and their respective successors and assigns
              permitted hereby; provided that, this Agreement may not be assigned by either
              Party without the prior written consent of the other Party.

      (b)     Amendment. Other than as described in this Agreement, this Agreement may not
              be modified or amended except in writing signed by the Parties.




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(c)     Survival. No termination of this Agreement shall affect the liabilities and
        obligations of the Parties arising from or in connection with services performed or
        transactions initiated prior to such termination. Without limiting the generality of
        the foregoing, the provisions of Sections 7 (Fees and Expenses.), 9 (Limitation of
        Liability; Exculpation and Indemnification; Other Activities; Force Majeure.), 14
        (Confidentiality.) and 15 (Notice of Litigation or Certain Other Events) shall
        survive any termination of this Agreement.

(d)     Entire Agreement. This Agreement constitutes the entire agreement between the
        Parties pertaining to the subject matter of this Agreement and supersedes all prior
        agreements and understandings pertaining to such subject matter.

(e)     Governing Law. All aspects of the relationship created by this Agreement
        (including Annex A) shall be governed by and construed in accordance with the
        laws of the State of New York, applicable to agreements made and to be performed
        entirely in such State. The parties irrevocably submit to the exclusive jurisdiction
        of the United States Bankruptcy Court for the District of Delaware with respect to
        any proceeding arising out of or relating to this Agreement or any transaction in
        connection herewith. Client further agrees that a final judgment in any such action
        or proceeding shall be conclusive and may be enforced in other jurisdictions by suit
        or in another manner provided by law, and consents to the service of process upon
        it by the mailing or delivering such service to its agent and authorizes and directs
        its agent to accept such service. Galaxy and Client (on its own behalf and, to the
        extent permitted by law, on behalf of its equity holders) waive all right to trial by
        jury in any action, suit, proceeding or counterclaim (whether based upon contract,
        tort or otherwise) related to or arising out of the Services or the performance by
        Investment Manager of the services contemplated by this Agreement.

(f)     Severability. If any provision of this Agreement would be invalid under applicable
        law, then such provision shall be deemed to be modified to the extent necessary to
        render it valid while most nearly preserving its original intent. No provision hereof
        shall be affected as a result of another provision being held invalid.

(g)     Notices. All notices under this Agreement (including termination notices pursuant
        to Section 6) shall be in writing (including by email) and delivered to such
        addresses or numbers set forth below, or as otherwise specified in writing by any
        Party to the other Party in writing from time to time. All notices shall be effective
        upon receipt.

        To the Investment Manager:       Galaxy Digital Capital Management LP
                                         300 Vesey St., Floor 13
                                         New York, NY 10282
                                         Attn: Steve Kurz
                                         Telephone: (917) 794-0311
                                         Email: steve@galaxy.com
                                         Copy to: compliance@galaxy.com



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        To the Client:                    FTX Trading Ltd.
                                          Friar’s Hill Road, Mandolin Place
                                          Saint John’s, AG-04, Antigua and Barbuda
                                          Attn: John Ray III
                                          Email: jray@greylockpartnersllc.com
                                          Copy to: kschultea@rlks.net

(h)     Waivers; Remedies Cumulative. Any waiver of any right under this Agreement
        may be granted only in writing by the person holding the right being waived. Any
        such waiver will be effective only in the specific instance given and for the specific
        purpose for which it is given, and will not apply in any other instance. A failure or
        delay in exercising any right under this Agreement will not operate as a waiver of
        such right, and a single or partial exercise of any right under this Agreement will
        not preclude any subsequent or further exercise of such right or the exercise of any
        other right. The rights and remedies of the Parties hereunder are cumulative and
        are not exclusive of any rights or remedies that they would otherwise have under
        this Agreement, at law or in equity.

(i)     Third Party Beneficiaries. This Agreement is not intended to and shall not be
        construed to create any rights in any person other than the Client, the Investment
        Manager and any Indemnified Party (solely with respect to Section 9), except that
        any entity which owns Assets that are held in the Account (each, a “Client
        Beneficiary”) shall be a third party beneficiary of this Agreement with respect to
        the Assets within the Account that are owned by such affiliate. Prior to the
        Effective Date, the Parties shall use reasonable best efforts to add any Client
        Beneficiary as a party to this Agreement.

(j)     Independent Contractor; No Partnership or Joint Venture. The Client and the
        Investment Manager are not partners or joint venturers with each other, and nothing
        in this Agreement shall be construed to make them such partners or joint venturers
        or impose any liability as such on any of them. The Investment Manager’s
        relationship to the Client shall be deemed to be that of an independent contractor.

(k)     Consent to Electronic Delivery. The Client hereby agrees and provides its informed
        written consent to the Electronic Communication (as defined below) of the Account
        Information (as defined below) by the Investment Manager, the Custodian, the
        administrator and/or any other relevant service provider to the Account. “Account
        Information” means any and all notices (including privacy notices), consents or
        other communications under, in respect of or in connection with this Agreement
        (including reports delivered pursuant to this Agreement, regulatory
        communications and other information, including documents required in the future
        to be delivered to the Client pursuant to the Advisers Act (e.g., the Investment
        Manager’s Form ADV, if any). “Electronic Communication” means e-mail
        delivery, making Account Information available electronically to the Client on an
        internet site, if applicable, and/or through any other electronic means, including a
        virtual data room. The Investment Manager, in its sole discretion, may elect which
        method of delivery it uses with respect to any and all Electronic Communications.

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        The Client hereby acknowledges it is its affirmative obligation to notify the
        Investment Manager in writing if the its email address provided to the Investment
        Manager changes.

(l)     Counterparts. This Agreement may be executed in more than one counterpart
        (including those delivered by electronic means) all of which counterparts together
        shall constitute the same instrument.

(m)     Interpretation.

        (i)     Captions; Headings. The captions and headings in this Agreement are for
                convenience of reference only and are not intended to be considered in
                construing any term or provision of this Agreement.

        (ii)    Exhibits; Appendices. Each exhibit, appendix, annex and schedule attached
                hereto shall be incorporated into and form a part of this Agreement and shall
                be construed for all purposes hereunder as if it were contained in the body
                of this Agreement.

        (iii)   Number and Gender. In this Agreement, words importing the singular
                number only shall include the plural and vice versa, and words importing
                one gender only shall include the other genders.

        (iv)    Inclusive Lists. Except where expressly specified to the contrary, in this
                Agreement the words “include,” “including,” and “such as” in this
                Agreement should be read to mean “include without limitation,” “including
                without limitation,” and “such as, but without any implied limitation,”
                respectively.

        (v)     Persons; Entities. Any reference to a “person” in this Agreement refers to
                a natural person, partnership (whether general or limited), limited liability
                company, trust, estate, association, corporation and government (including
                a country, state, county or any other government subdivision, agency or
                instrumentality).

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        IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by
their duly authorized representatives.

                                          CLIENT:

                                          FTX Trading Ltd.


                                          By: ________________________________
                                              Name: John J. Ray III
                                              Title: Authorized Signatory




                                          INVESTMENT MANAGER:

                                          Galaxy Digital Capital Management LP



                                          By: ________________________________
                                              Name: Steve Kurz
                                              Title: Authorized Signatory




                           [Signature Page to Services Agreement]
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                    IN WITNESS WHEREOF, the Parties have caused this Agreement to be executed by
            their duly authorized representatives.

                                                             CLIENT:

                                                             FTX Trading Ltd.


                                                             By: ________________________________
                                                                 Name: John J. Ray III
                                                                 Title: Authorized Signatory



                                                             INVESTMENT MANAGER:

                                                             Galaxy Digital Capital Management LP



                                                             By: ________________________________
                                                                 Name: Steve Kurz
                                                                 Title: Authorized Signatory
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                         Exhibit A

        FORM OF GALAXY PARENTAL GUARANTY




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                                           GUARANTY

       This GUARANTY (“Guaranty”), dated as of the date hereof, is made by Galaxy Digital
Holdings LP, a Cayman Islands exempted limited partnership (the “Guarantor”), in favor and for
the benefit of the Client (as such term is defined in the Services Agreement (as defined below)
(“Beneficiary”). Terms not hereinafter defined shall have meanings set forth in the Services
Agreement.

         Beneficiary and Galaxy Digital Capital Management L.P. (“Investment Manager”) have
entered into an investment management agreement dated as of [•], pursuant to which Investment
Manager will provide certain investment management services with respect to certain assets of
Beneficiary (the “Services Agreement”). In connection with the rights and obligations granted to
Investment Manager pursuant to the Services Agreement, Investment Manager has entered into,
on behalf of Beneficiary, a Cryptocurrency Purchase and Sale Agreement, dated as of [•] and the
form of which is attached as hereto, by and between Galaxy Digital Trading Cayman LLC, a
limited liability company organized under the laws of the Cayman Islands and/or any of its
affiliates that become a “Galaxy Trading Partner” as defined in the Services Agreement (together,
“Galaxy Cayman” or the “Obligor") and Client (the “Galaxy Trading Agreement”). In
consideration of any indirect or tangential benefits derived by Guarantor from the transactions
under the Galaxy Trading Agreement, and in order to induce Beneficiary to enter into the Services
Agreement, Guarantor hereby agrees as follows:

         1       Guaranty. Guarantor absolutely guarantees, as primary obligor and not merely as
surety, the full and punctual payment and performance of all present and future obligations,
liabilities, covenants and agreements required to be observed and performed or paid or reimbursed
by Obligor with respect to the Assets as set forth under Section 2 of the Services Agreement when
the same are due and payable, whether on demand, at stated maturity, by acceleration, early
termination or otherwise, in accordance with the terms of the Galaxy Trading Agreement, plus all
costs, expenses and fees (including the reasonable fees and expenses of Beneficiary’s counsel) in
any way relating to the enforcement or protection of Beneficiary’s rights hereunder (collectively,
the “Obligations”) provided such Obligations shall not exceed the “Total Guaranteed Amount”
as defined in Appendix A1 herein. For the avoidance of doubt, the total liability of Guarantor under
this Guaranty shall not extend beyond amounts which Beneficiary is entitled to recover under the
applicable Galaxy Trading Agreement plus the foregoing expenses and costs of enforcement or
protection provided such amounts shall not exceed the Total Guaranteed Amount as defined in
Appendix A1 herein.

        2      Guaranty Absolute. Guarantor agrees that its obligations under this Guaranty (i) are
continuing, unconditional, and absolute, (ii) are irrevocable and shall remain in full force and effect
until all Obligations and other amounts payable under this Guaranty and the Galaxy Trading
Agreement have been validly, finally, and irrevocably paid or performed in full, and (iii) shall not
be discharged or impaired or otherwise affected by, and Guarantor hereby irrevocably waives any
defenses to enforcement it may have (now or in the future) by reason of:

             (a) Any change in the time, place or manner of payment or performance of, or in
       any other term of the Obligations, or any rescission, waiver, release, assignment,
       amendment or other modification of the Galaxy Trading Agreement or any Obligation.


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        (b) Any taking, exchange, substitution, release, impairment, amendment, waiver,
modification or non-perfection of any collateral or any other guaranty for the Obligations,
or any manner of sale, disposition or application of proceeds of any collateral or other
assets to all or part of the Obligations.

       (c) Any default, failure or delay, willful or otherwise, in the performance of the
Obligations, the Galaxy Trading Agreement or this Guaranty or in the assertion of any
claim against the Obligor or Guarantor by Beneficiary.

        (d) The failure of (i) any other guarantor or third party to execute or deliver this
Guaranty or any other guaranty or agreement, or the release or reduction of liability of
Guarantor or any other guarantor or surety with respect to the Obligations, or
(ii) consideration, breach of warranty, payment, performance, statute of frauds, statute of
limitations, accord and satisfaction, and usury with respect to the Guaranty, the Galaxy
Trading Agreement or any Obligation.

        (e) Any claim as to (i) the Galaxy Trading Agreement’s, any Obligation’s or this
Guaranty’s validity, regularity or enforceability or the lack of authority of the Obligor to
execute or deliver the Galaxy Trading Agreement; (ii) any extension of credit or financial
accommodation by Beneficiary to or for the account of the Obligor other than that
guaranteed hereunder; (iii) any present or future law, regulation or order of any jurisdiction
(whether of right or in fact) or of any agency thereof purporting to reduce, amend,
restructure or otherwise affect any term of the Galaxy Trading Agreement or Obligation;
(iv) any rights to interpose any counterclaim or offset of any nature and descriptions which
it may have or which exist between and among Beneficiary, the Obligor and/or Guarantor
except as specifically set forth in the Galaxy Trading Agreement; (v) absence, impairment
or loss of any right of reimbursement, contribution or subrogation or any other right or
remedy of Guarantor against the Obligor or any other person or collateral securing the
Galaxy Trading Agreement or any Obligation; and (vi) any benefit of, and any right to
participate in, any collateral given to Beneficiary to secure the payment of all or any part
of the Obligations.

        (f) any change in the corporate, partnership, limited liability company or other
existence, structure or ownership of the Obligor or any insolvency proceeding or other
similar proceeding affecting the Obligor or any of its assets, or any resulting release or
discharge of any obligation of the Obligor;

        (g) the disallowance, under any state or federal bankruptcy, insolvency or similar
law, of all or any portion of the claims of Beneficiary for repayment of all or any part of
the Obligations;

        (h) the existence of any claim, setoff or other rights which Guarantor may have at
any time against the Obligor, Beneficiary or any other person, whether in connection
herewith or in connection with any unrelated transactions; provided that, notwithstanding
any other provisions in this Guaranty, nothing in this Guaranty shall prevent the assertion
of any such claim by separate suit or compulsory counterclaim;




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               (i) Any other defense whatsoever which might constitute a defense available to, or
       discharge of, the Obligor or Guarantor (whether arising in connection with Guarantor’s
       status as surety or otherwise), whether or not the Obligor or Guarantor has any notice or
       knowledge of any of the foregoing.

               (j) No failure on the part of Beneficiary to exercise or exercise in full, and no delay
       in exercising, any right, power or privilege under this Guaranty shall operate as a waiver
       or preclude any other or further exercise thereof.

        3       Certain Waivers; Acknowledgments. Guarantor further acknowledges and agrees
as follows:

                (a) This Guaranty is a guaranty of payment and performance and not of collection.

               (b) This Guaranty is a direct guaranty and independent of the obligations of the
       Obligor under the Galaxy Trading Agreement. Beneficiary may resort to Guarantor for
       payment and performance of the Obligations. Beneficiary may, at Beneficiary’s option,
       proceed against Guarantor and Obligor, jointly and severally, or against Guarantor only
       after having obtained a judgment against Obligor.

               (c) Guarantor hereby waives and relinquishes any and all legal and equitable
       defenses available to a guarantor (other than performance and indefeasible payment in full
       in cash by the Obligor) and agrees not to assert or take advantage of any such defenses,
       including, without limitation, presentment, notice of dishonor, demand, protest, prior
       proceedings (including bankruptcy, insolvency, reorganization, or similar proceedings),
       order and any notices not provided herein, including any notice of acceptance of this
       Guaranty, the Galaxy Trading Agreement or any amendments or modifications thereto or
       incurrence of any Obligation (including that arising from any Transaction arising by way
       of assignment or transfer) and any other formality or defense with respect to any of the
       Obligations, the Galaxy Trading Agreement, or this Guaranty. Beneficiary shall not be
       obligated to file any claim relating to the Obligations, including any claim in the event that
       Guarantor becomes subject to a bankruptcy, insolvency, reorganization, liquidation,
       receivership, conservatorship, arrangement or similar proceeding, and any failure of
       Beneficiary to file any such claim shall not affect Guarantor’s obligations hereunder.

        4       Subrogation. Guarantor waives and shall not exercise any rights that it may acquire
by way of subrogation, contribution, reimbursement, indemnification, exoneration or set-off for
payments made under this Guaranty until all Obligations shall have been indefeasibly performed
or paid and discharged in full. Should Guarantor have the right, notwithstanding the foregoing, to
exercise its subrogation rights prior to complete satisfaction of its obligations under this Guaranty,
Guarantor hereby expressly and irrevocably (i) subordinates in favor of Beneficiary any and all
rights at law or in equity to subrogation, contribution, reimbursement, indemnification,
exoneration or set-off that Guarantor may have prior to the complete satisfaction of its obligations
under this Guaranty, and (ii) waives any and all defenses available to a surety, guarantor or
accommodation co-obligor until all Obligations shall have been indefeasibly performed or paid
and discharged in full. Guarantor acknowledges and agrees that this subordination is intended to
benefit Beneficiary and shall not limit or otherwise affect Guarantor’s liability hereunder or the


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enforceability of this Agreement, and that Beneficiary and its successors and assigns are intended
third party beneficiaries of the waivers and agreements set forth in this Section 4.

        5      Reinstatement. The obligations of Guarantor under this Guaranty shall be
automatically reinstated if and to the extent that for any reason any payment by or on behalf of the
Obligor in respect of the Obligations is at any time rescinded, annulled, avoided, set aside,
invalidated, declared to be fraudulent or must be otherwise restored or repaid by any holder of any
of the Obligations, whether as a result of any proceedings in bankruptcy or reorganization,
equitable cause or otherwise. The provisions of this Section 5 shall survive termination of this
Guaranty.

        6       In any action or proceeding involving any provincial, territorial or state corporate
law, or any state or federal bankruptcy, insolvency, reorganization or other law affecting the rights
of creditors generally, if the obligations of Guarantor under this Guaranty would otherwise be held
or determined to be void, invalid or unenforceable, or subordinated to the claims of any other
creditors, on account of the amount of its liability under this Guaranty, then, notwithstanding any
other provision hereof to the contrary, the amount of such liability shall, without any further action
by Guarantor, Beneficiary or any other person, be automatically limited and reduced to the highest
amount that is valid and enforceable and not subordinated to the claims of other creditors as
determined in such action or proceeding.

        7       Representations and Warranties. To induce Beneficiary to enter into the Galaxy
Trading Agreement, Guarantor represents and warrants that: (a) Guarantor is a duly organized and
validly existing exempted Cayman Islands limited partnership under the laws of the jurisdiction of
its organization; (b) this Guaranty constitutes Guarantor’s valid and legally binding agreement in
accordance with its terms; (c) the execution, delivery and performance of this Guaranty have been
duly authorized by all necessary action and will not violate or conflict with any law, order,
judgment or decree to which Guarantor or any of its assets may be subject; (d) Guarantor is
currently solvent and will not be rendered insolvent by providing this Guaranty; (e) there is no
pending or threatened action or proceeding affecting Guarantor before any court, governmental
agency or arbitrator that could reasonably be expected to have a material adverse effect on the
financial condition of Guarantor or the ability of Guarantor to perform its obligations hereunder
and (f) Guarantor’s obligations are legal, valid and binding.

        8       Notices. All notices, requests, consents, demands and other communications
hereunder (each, a “Notice”) shall be in writing and delivered to the parties at the email addresses
set forth herein or to such other address as may be designated by the parties in writing. Except as
otherwise provided in this Guaranty, a Notice is effective only (a) (i) if sent by mail, with written
confirmation of delivery or (ii) if sent by email, upon receipt of the receiving party; and (b) if the
party giving the Notice has complied with the requirements of this section. Guarantor irrevocably
waives, to the fullest extent permitted by law, any notice not provided for herein.

        9       Assignment. This Guaranty shall be binding upon and inure to the benefit of the
parties hereto and their respective successors and assigns; provided, however, that Guarantor may
not, without the prior written consent of Beneficiary, assign any of its rights, powers or obligations
hereunder. Beneficiary may not assign this Guaranty and its rights hereunder without the consent
of Guarantor. Any attempted assignment in violation of this section shall be null and void.


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     10    Governing Law; Service of Process. THIS GUARANTY SHALL BE GOVERNED
BY AND CONSTRUED UNDER THE LAWS OF THE STATE OF NEW YORK, WITHOUT
REFERENCE TO ANY CHOICE OF LAW DOCTRINE. EACH PARTY IRREVOCABLY
CONSENTS TO SERVICE OF PROCESS IN THE MANNER PROVIDED FOR NOTICES IN
SECTION 8 HEREOF AND AGREES THAT NOTHING HEREIN SHALL AFFECT THE
RIGHT OF ANY PARTY HERETO TO SERVE PROCESS IN ANY MANNER PERMITTED
BY APPLICABLE LAW. THE PARTIES IRREVOCABLY SUBMIT TO THE EXCLUSIVE
JURISDICTION OF THE UNITED STATES BANKRUPTCY COURT FOR THE DISTRICT
OF DELAWARE WITH RESPECT TO ANY PROCEEDING ARISING OUT OF OR
RELATING TO THIS GUARANTY OR ANY CONTRACT OR TRANSACTION IN
CONNECTION HEREWITH.

      11   Waiver of Jury Trial. EACH PARTY HEREBY IRREVOCABLY WAIVES ANY
AND ALL RIGHTS TO TRIAL BY JURY WITH RESPECT TO ANY LEGAL PROCEEDING
ARISING OUT OF OR RELATING TO THIS GUARANTY OR ANY OF THE OBLIGATIONS
HEREUNDER.

       12      Cumulative Rights. Each right, remedy and power hereby granted to Beneficiary or
allowed it by applicable law or other agreement shall be cumulative and not exclusive of any other,
and may be exercised by Beneficiary at any time or from time to time.

        13      Certain Taxes. All payments to be made pursuant to this Guaranty shall be made
free and clear of any deduction and/or withholding tax unless such deduction or withholding tax
is required by applicable law.

        14      Severability. If any provision of this Guaranty is to any extent determined by final
decision of a court of competent jurisdiction to be unenforceable, the remainder of this Guaranty
shall not be affected thereby, and each provision of this Guaranty shall be valid and enforceable to
the fullest extent permitted by law.

        15     Termination. Notwithstanding anything contained herein to the contrary, and only
after payment and/or performance and satisfaction in full of all Obligations accrued pursuant to
the Galaxy Trading Agreement, Guarantor may terminate the Galaxy Trading Agreement,
whereupon this Guaranty shall be deemed terminated with respect to the Obligations of Galaxy
Cayman by the parties hereto, and shall cease to have any force or effect with respect thereto. Any
future Obligations created by the Obligor after the termination of the Guaranty with respect to the
Obligor shall not be covered by this Guaranty.

       16     Guaranty Term. This Guaranty shall be effective until termination pursuant to
Section 15 herein.

        17      Entire Agreement; Amendments; Headings; Effectiveness. This Guaranty
constitutes the sole and entire agreement of Guarantor and Beneficiary with respect to the subject
matter hereof and supersedes all previous agreements or understandings, oral or written, with
respect to such subject matter. No amendment or waiver of any provision of this Guaranty shall be
valid and binding unless it is in writing and signed, in the case of an amendment, by both parties,
or in the case of a waiver, by the party against which the waiver is to be effective. Section headings



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are for convenience of reference only and shall not define, modify, expand or limit any of the terms
of this Guaranty. Delivery of this Guaranty in electronic (i.e., pdf or tif) format shall be effective
as delivery of a manually executed original of this Guaranty.

                                     [Signature Page Follows]




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       IN WITNESS WHEREOF, each of the undersigned has caused this Guaranty to be duly
executed and delivered by its duly authorized signatory as of the day and year first above written.


                                                  GUARANTOR:

                                                  Galaxy Digital Holdings LP


                                                  By: _____________________
                                                  Name:
                                                  Title:
                                                  Date:
                                                  Email: compliance@galaxydigital.io


                                                  Accepted and agreed to:
                                                  BENEFICIARY:

                                                  FTX Trading Ltd.


                                                  By: _____________________
                                                  Name:
                                                  Title:
                                                  Date:
                                                  Email:




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                                         Appendix A1

        Notwithstanding anything to the contrary provided in the Guaranty dated as of the date
hereof, made by Galaxy Digital Holdings LP (“Guarantor”) in favor and for the benefit of the
Client (“Beneficiary”), “Total Guaranteed Amount” shall mean the aggregate principal amount
of the obligations of Guarantor hereunder at any time shall not exceed $800,000,000.00.

      Guarantor hereby acknowledges that the Obligations may exceed the amount of such
Guarantor’s obligation as limited hereby without affecting the liability of Guarantor hereunder.


                                                 GUARANTOR:

                                                 Galaxy Digital Holdings LP


                                                 By: _____________________
                                                 Name:
                                                 Title:
                                                 Date:


                                                 Accepted and agreed to:
                                                 BENEFICIARY:

                                                 FTX Trading Ltd.


                                                 By: _____________________
                                                 Name:
                                                 Title:
                                                 Date:
                                                 Email




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                                       Appendix A2

                  Form of Cryptocurrency Purchase and Sale Agreement

[Parties to mutually agree on form of Cryptocurrency Purchase and Sale Agreement, which will
be attached to an executed Guaranty]




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                                             Exhibit B

                       HEDGING FEE ILLUSTRATIVE EXAMPLE

(1)   Rate                                                                               0.005

(2)   No. of Days in Month (i.e., October)                                                  31
      No. of Days in Year                                                                  365
                                                                                      0.084932

(3)   Average USD NAV of Hedging Assets

      Bitcoin – Avg. USD NAV for Month
      Sum of the USD value on each Day of the Month                       $   17,360,000,000
      No. of Days in Month (i.e., October)                                                31
      Bitcoin – Avg. USD NAV for Month                                    $      560,000,000

      Ether – Avg. USD NAV for Month
      Sum of the USD value on each Day of the Month                       $    6,820,000,000
      No. of Days in Month (i.e., October)                                                31
      Ether – Avg. USD NAV for Month                                      $      220,000,000

      Average USD NAV of Hedging Assets                                   $     780,000,000

                                         Hedging Fee

Hedging Fee = (1) x (2) x (3)

Hedging Fee = 0.005 x 0.084932 x $780,000,000

Hedging Fee for October = $331,233




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